          Case 3:04-cr-00119-BAJ-RLB   Document 129     10/25/21 Page 1 of 5




                      UNITED STATES DISTRICT COURT

                       MIDDLE DISTRICT OF LOUISIANA

 UNITED STATES OF AMERICA                                    CRIMINAL ACTION

 VERSUS

 MARK MARTRELL JACKSON                                     NO. 04-00119-BAJ-RLB

                              RULING AND ORDER

      Before the Court is Defendant’s Motion For Compassionate Release (Doc.

120). The Government opposes Defendant’s Motion. (Doc. 125). For the following

reasons, Defendant’s Motion will be denied.

     I.     BACKGROUND

      On January 25, 2005, Defendant pleaded guilty of multiple counts of

possession with intent to distribute “crack” cocaine, and conspiracy related to the

same. (See Docs. 1, 40).

      On June 3, 2005, the Court sentenced Defendant to a term of 324 months

imprisonment as to each offense, to run concurrently. (Docs. 104).

      Defendant is currently incarcerated at Seagoville FCI, in Seagoville, Texas.

His projected release date is January 17, 2023.

      Defendant now moves for “compassionate release” pursuant to 18 U.S.C.

§ 3582(c)(1)(A)(i). (Doc. 120). Defendant asserts that release is warranted due to his

pre-existing health conditions of hypertension, acute ischemic heart disease, obesity,

and obstructive sleep apnea, pre-existing health conditions that create a higher risk

of serious health consequences should he contract COVID-19. (Id. at 5-6). Defendant

also notes that he suffered a heart attack in January of 2021.
          Case 3:04-cr-00119-BAJ-RLB    Document 129     10/25/21 Page 2 of 5




    II.     ANALYSIS

              A. Standard

       A judgment, including a sentence of imprisonment, “may not be modified by a

district court except in limited circumstances.” Dillon v. United States, 560 U.S. 817,

825 (2010). A defendant seeking compassionate release must satisfy the Court that

(1) “extraordinary and compelling reasons warrant such a reduction,” and (2) the

reduction is “consistent with applicable policy statements issued by the Sentencing

Commission.” See 18 U.S.C. § 3582(c)(1)(A)(i); United States v. Mathes, No. 14-cr-69,

2020 WL 4014748, at *3 (M.D. La. July 16, 2020) (Dick, C.J.). (“Generally, the

defendant has the burden to show circumstances meeting the test for compassionate

release.”).

       When, as here, the defendant files a motion for compassionate release on his

own behalf, the Court’s discretion “is bound only by § 3582(c)(1)(A)(i) and, as always,

the sentencing factors in § 3553(a).” United States v. Shkambi, 993 F.3d 388, 393 (5th

Cir. 2021). Still, even if the Sentencing Commission’s guidance is not dispositive, it

nonetheless informs the Court’s “analysis as to what reasons may be sufficiently

‘extraordinary and compelling’ to merit compassionate release.” United States v.

Thompson, 984 F.3d 431, 433 (5th Cir. 2021), cert. denied No. 20-7832, 2021 WL

2044647 (U.S. May 24, 2021).

       Relevant here, the Sentencing Commission has expressly recognized that, in

certain circumstances, a Defendant’s “medical condition” may rise to the level of an

“extraordinary and compelling” reason to merit compassionate release. Specifically,

the Sentencing Commission advises that “extraordinary and compelling reasons” may

                                          2
        Case 3:04-cr-00119-BAJ-RLB       Document 129     10/25/21 Page 3 of 5




be established upon proof that an illness is “terminal,” “serious,” or “substantially

diminishes the ability of the defendant to provide self-care within the environment of

a correctional facility and from which he or she is not expected to recover.” U.S.S.G.

§1B1.13 (Commentary, Application Note 1).

              B. Discussion

       As stated, Defendant seeks release based on multiple pre-existing health

conditions, including hypertension, ischemic heart disease, and obesity. Defendant

asserts that these conditions place him at a higher risk of serious health

consequences—up to and including death—should he contract COVID-19. (See Doc.

120 at 5).

       Certainly Defendant raises legitimate concerns. For multiple reasons,

however, Defendant cannot demonstrate extraordinary and compelling reasons to

justify release.

       To be sure, the CDC advises that heart conditions (including hypertension) and

obesity “can make you more likely to get severely ill from COVID-19.”1 Moreover,

Defendant’s prison medical records confirm that, indeed, his heart disease is a

“serious” medical condition within the meaning of the Sentencing Commission’s

Guidelines. U.S.S.G. §1B1.13 (Commentary, Application Note 1). Certainly,

Defendant’s pre-existing health conditions place him among a class of people more

likely to suffer adverse outcomes from COVID-19.

       But that is not the end of the inquiry. First, heart disease and obesity are each


1See https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-
medical-conditions.html (visited October 8, 2021).

                                           3
          Case 3:04-cr-00119-BAJ-RLB         Document 129      10/25/21 Page 4 of 5




fairly commonplace medical conditions that may be controlled through medication

and other interventions. Defendant’s medical records suggest that he has responded

to the treatment regimen prescribed by prison medical staff, and that his condition

has improved since suffering his heart attack in January. This Court and others have

held that controlled, commonplace, chronic conditions do not establish an

extraordinary and compelling reason to justify release, even if those conditions

increase the risk of adverse outcomes from COVID-19. See United States v. Johnson,

07-cr-17, 2021 WL 262559, at *5 (M.D. La. Jan. 26, 2021) (Dick, C.J.) (ruling that

well-controlled hypertension is not extraordinary and compelling); accord Thompson,

984 F.3d at 434 (instructing that “commonplace” chronic conditions generally do not

make a prisoner’s case “extraordinary”).

         Second, according to the most recent data, Seagoville FCI currently reports

only one inmate case of COVID-19, and one staff case.2 This number is consistent

with other federal corrections facilities in Louisiana, Texas, and Mississippi.

Meanwhile, amidst the current surge attributable to the Delta variant, hundreds

(and sometimes thousands) of new cases of COVID-19 are reported among Louisiana’s

general, non-prison population each day.3 In short, on the present showing, it is not

clear that Defendant is at a significantly higher risk of exposure to COVID-19 as a

result of his confinement at FCI Oakdale I. Thus, again, his case is not

“extraordinary.” Cf. Thompson, 984 F.3d at 434 (indicating that defendant’s case was

not “extraordinary” where defendant failed to show that he was “at a significantly


2   See https://www.bop.gov/coronavirus/ (visited October 8, 2021).
3   See https://ldh.la.gov/Coronavirus/ (visited October 8, 2021).
                                                4
          Case 3:04-cr-00119-BAJ-RLB   Document 129   10/25/21 Page 5 of 5




higher risk [of severe outcomes from COVID-19] than is the general inmate

population”).

      Finally, and perhaps most important, Defendant’s medical records reflect that

as of February 19, 2021, he is fully vaccinated against COVID-19, thus dramatically

reducing the likelihood that he will be infected by the virus, and, if infected,

experience severe outcomes. (Doc. 128-1 at 210-211). Defendant is therefore well-

protected, and cannot show extraordinary and compelling circumstances justifying

release.

      In sum, despite a serious medical condition, the Court determines that

Defendant has failed to establish an “extraordinary and compelling” reason

supporting compassionate release.

   III.     CONCLUSION

      Accordingly,

      IT IS ORDERED that the Defendant’s Motion (Doc. 120) is DENIED.



                             Baton Rouge, Louisiana, this 25th day of October, 2021



                                       _____________________________________
                                       JUDGE BRIAN A. JACKSON
                                       UNITED STATES DISTRICT COURT
                                       MIDDLE DISTRICT OF LOUISIANA




                                         5
